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                                 UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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11
     EDWARD COLLEY,                            )      NO. CV 19-1988-MEMF (AGR)
12                                             )
                           Plaintiff,          )
13                                             )      ORDER OF DISMISSAL UPON
         v.                                    )      STIPULATION
14                                             )
     MICHAEL VIERRA, et al.,                   )
15                                             )
                           Defendants.         )
16                                             )
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              .
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              The parties having filed a stipulation for dismissal of this action with prejudice
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     with each party to bear its own costs, fees, and attorneys fees pursuant to Fed. R.
20
     Civ. P. 41(a)(1)(A)(ii),
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              IT IS ORDERED that this action is dismissed in its entirety with prejudice.
22
     Each party shall bear its own attorneys fees, costs and fees.
23
24
                                                   ___________________________________
25   Dated: June 28, 2024
                                                   MAAME EWUSI-MENSAH FRIMPONG
26
                                                          United States District Judge
27
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